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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
                                                                 8:14CR357
                     Plaintiff,

       vs.                                               AMENDED PRELIMINARY
                                                         ORDER OF FORFEITURE
RODOLFO ESQUIVEL,
ALEJANDRO GARCIA-ROA,
ERNESTO ARROYO, and
AGUEDA ARROYO
              Defendants.



       This matter comes on before the Court upon the United States= Motion for

Amended Preliminary Order of Forfeiture (Filing No. 163). The Court has reviewed the

record in this case and, being duly advised in the premises, finds as follows:

       1. The United States’ Motion for an Amended Preliminary Order of Forfeiture

should be sustained.

       2. The Defendants have entered into Plea Agreements (Filing Nos. 108, 114,

119, and 126), whereby they have agreed to enter pleas of guilty to Count I and to admit

the interlineated Forfeiture Allegation of said Indictment.        Count I charged the

Defendants with conspiracy to distribute methamphetamine, in violation of 21 U.S.C. '

846.   The interlineated Forfeiture Allegation charged the Defendants with using

$63,731.00 in United States currency and $14,904.00 in United States currency to

facilitate the commission of the conspiracy and/or said currency is derived from proceeds

obtained directly or indirectly as a result of the commission of the conspiracy.



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       3. By virtue of said pleas of guilty, the Defendants forfeit their interests in the

subject currency, and the United States should be entitled to possession of said currency,

pursuant to 21 U.S.C. ' 853. Accordingly,

       IT IS ORDERED:

       A. The United States= Motion for Amended Preliminary Order of Forfeiture (Filing

No. 163) is granted.

       B. Based upon the interlineated Forfeiture Allegation of the Indictment and the

Defendants= pleas of guilty, the United States is hereby authorized to seize the

$63,731.00 and the $14,904.00.

       C. The Defendants= interests in the $63,731.00 and the $14,904.00 are hereby

forfeited to the United States for disposition in accordance with the law, subject to the

provisions of 21 U.S.C. ' 853(n)(1).

       D. The aforementioned currency is to be held by the United States in its secure

custody and control.

       E. Pursuant to 21 U.S.C. ' 853(n)(1), the United States forthwith shall publish for

at least thirty consecutive days on an official internet government forfeiture site,

www.forfeiture.gov, notice of this Order, Notice of Publication evidencing the United

States= intent to dispose of the currency in such manner as the Attorney General may

direct, and notice that any person, other than the Defendants, having or claiming a legal

interest in any of the subject currency must file a Petition with the court within thirty days

of the final publication of notice or of receipt of actual notice, whichever is earlier.




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       F. Said published notice shall state the Petition referred to in Paragraph E,

above, shall be for a hearing to adjudicate the validity of the Petitioner=s interest in the

currency, shall be signed by the Petitioner under penalty of perjury, and shall set forth the

nature and extent of the Petitioner=s right, title or interest in the subject currency and any

additional facts supporting the Petitioner=s claim and the relief sought.

       G. The United States may also, to the extent practicable, provide direct written

notice to any person known to have an interest in the currency subject to this Order as a

substitute for published notice as to those persons so notified.

       H. Upon adjudication of all third-party interests, this Court will enter a Final Order

of Forfeiture pursuant to 21 U.S.C. ' 853(n), in which all interests will be addressed.

       Dated this 23rd day of July, 2015.


                                            BY THE COURT:


                                            s/Laurie Smith Camp
                                            Chief United States District Judge




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